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                        UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF FLORIDA
                            WEST PALM BEACH DIVISION
                               www.flsb.uscourts.gov

In re:                                                   CASE NO.: 19-18585-EPK

                                                         Chapter 11
MERIDIAN MARINA & YACHT CLUB
OF PALM CITY, LLC

Debtor.
______________________________/

     NOTICE OF FILING DEBTOR’S MONTHLY OPERATING REPORT FOR THE
          PERIOD FROM MARCH 1, 2020 THROUGH MARCH 31, 2020

         The Debtor, MERIDIAN MARINA & YACHT CLUB OF PALM CITY, LLC., by and

through its undersigned attorney, hereby files the attached Monthly Financial Report.

        I HEREBY CERTIFY that I am admitted to the Bar of the United States District
Court for the Southern District of Florida and I am in compliance with the additional
qualifications to practice in this court set forth in Local Rule 2090-1(A) and that a true and
correct copy of the foregoing has been furnished via us mail to the parties below this 20th
day of April 2020.

                                                  KELLEY, FULTON & KAPLAN, P.L.
                                                  Attorney for Debtor in Possession
                                                  1665 Palm Beach Lakes Blvd.
                                                  The Forum - Suite 1000
                                                  West Palm Beach, FL 33401
                                                  Tel. No. (561) 491-1200
                                                  Fax No. (561) 684-3773

                                                  By: /s/ Dana Kaplan
                                                        DANA KAPLAN, ESQUIRE
                                                        Florida Bar No.: 44315
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Mailing Information for Case 19-18585-MAM

Electronic Mail Notice List

The following is the list of parties who are currently on the list to receive email
notice/service for this case.

   •   John P Carrigan jpc@reblawpa.com, mmj@reblawpa.com
   •   Heidi A Feinman Heidi.A.Feinman@usdoj.gov
   •   Dana L Kaplan dana@kelleylawoffice.com,
       tina@kelleylawoffice.com;craig@kelleylawoffice.com;cassandra@kelleylawoffice.
       com;kaplandr75945@notify.bestcase.com;Debbie@kelleylawoffice.com
   •   Craig I Kelley craig@kelleylawoffice.com,
       dana@kelleylawoffice.com,tina@kelleylawoffice.com,cassandra@kelleylawoffice
       .com;kelleycr75945@notify.bestcase.com;Debbie@kelleylawoffice.com
   •   Susan D. Lasky ECF@suelasky.com,
       ecfsuelasky@gmail.com;r48532@notify.bestcase.com
   •   Office of the US Trustee USTPRegion21.MM.ECF@usdoj.gov
   •   Alan B Rose arose@mrachek-law.com, manderson@mrachek-law.com

Manual Notice List

The following is the list of parties who are not on the list to receive email notice/service
for this case (who therefore require manual noticing/service).

       Aspen Environmental Consulting, LLC
       2014 SW Oxbow Way
       Palm City, FL 34990

       Meridian Marina & Yacht Club of Palm City, LLC
       1400 SW Chapman Way
       Palm City, FL 34990
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                          UNITED STATES BANKRUPTCY COURT
                        ------- DISTRICT OF ---------
                            ------- DNISION

        IN RE:                                  }
                                                }
        me'vd,M a\aa�                           }
                                                }        JUDGE_________
                                                }
                                                }        CHAPTER 11


             DEBTOR'S STANDARD MONTHLY OPERATING REPORT (BUSINESS)




Comes now the above-named debtor and files its Monthly Operating Reports in accordance with the
Guidelines established by the United States Trustee and FRBP 2015.



                                                            Dana Kaplan, Esq.
                                                         Attorney for Debtor's Signature


Debtor's Address                                         Attorney's Address
and Phone Number:                                        and Phone Number:

I YDO SLA) Cka(l'mWl Wc....y                               Kelley, Fulton & Kaplan, P

y,.,\m Ci:'./ f- L JYQ7o                                   1665 Palm Beach Lakes Blvd. #1000
                                                          West Palm Beach, FL 33401

                                                            (561) 491-1220

Note: The original Monthly Operating Report is to be filed with the court and a copy simultaneously
provided to the United States Trustee Office. Monthly Operating Reports must be filed by the 20th day of
the following month.

For assistance in preparing the Monthly Operating Report, refer to the following resources on the United
States Trustee Program Website, http://www. usdoj. gov/ust/r21 /reg info. htm
1)      Instructions for Preparations of Debtor's Chapter 11 Monthly Operating Report
2)      Initial Filing Requirements
3)      Frequently   Asked Questions (FAQs)http://www.usdoj.gov/ust/




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